902 F.2d 29Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Paul Henry JORDAN, Plaintiff-Appellant,v.US PAROLE COMMISSION;  DC Parole Commission;  Ed Baker,Coordinator;  Dan Beasley, Unit Manager;  WilliamPalmer, Case Manager, Defendants-Appellees.
    No. 90-6272.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 18, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, District Judge.  (C/A No. 89-953-A)
      Paul Henry Jordan, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Paul Henry Jordan appeals the district court's dismissal of his combination Bivens* action and 28 U.S.C. Sec. 2255 motion for failure to pay the assessed filing fee.  Finding that the district court complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Bivens v. Six Unknown Named Agents of Fed.  Bureau of Narcotics, 403 U.S. 388 (1971)
      
    
    